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                                          July 26, 2024

 The Honorable Colm F. Connolly                                                    VIA ECF
 U.S. District Court for the
   District of Delaware
 844 North King Street
 Wilmington, DE 19801

         Re:        SoftSmile, Inc. v. Institut Straumann AG, et al.,
                    C.A. No. 22-1189 (CFC) (D. Del.)

Dear Chief Judge Connolly:

      I write on behalf of the parties to provide a status report on this matter
pursuant to the Court’s Oral Order dated July 18, 2024.

       On November 7, 2022, the parties filed, and the Court granted, a stipulation
to stay this case pending the resolution of their dispute in an arbitration proceeding
administered by the International Chamber of Commerce’s International Court of
Arbitration. See D.I. 41, 43. That arbitration is still proceeding, with a hearing
scheduled for December 9-19, 2024. The parties anticipate that the sole arbitrator
will request post-hearing briefing, but the schedule for that briefing has not been
set.

       Accordingly, the parties respectfully request that the stay in this matter
continue until the arbitration is fully resolved. The parties will file a joint status
letter with the Court within 20 days of that resolution.

                                                   Respectfully,



                                                   Michael J. Flynn
                                                   Counsel for Plaintiff SoftSmile, Inc.
